          Case 1:20-cv-11104-WGY Document 157 Filed 02/05/21 Page 1 of 3




                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MASSACHUSETTS




VICTIM RIGHTS LAW CENTER et al.,

                            Plaintiffs,
                                                      Case Number: 1:20-cv-11104
    v.

ELISABETH D. DEVOS, in her official
capacity as Secretary of Education et al.,
                                                     SUPPLEMENTAL DECLARATION
                                                     OF PLAINTIFF MARY DOE
                            Defendants.



         Pursuant to the Court’s January 28, 2021 order (ECF No. 154), Plaintiffs hereby submit

Mary Doe’s supplemental declaration.



Dated:         February 5, 2021              Respectfully submitted,



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Case 1:20-cv-11104-WGY Document 157 Filed 02/05/21 Page 2 of 3




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                              2
        Case 1:20-cv-11104-WGY Document 157 Filed 02/05/21 Page 3 of 3




                                 CERTIFICATE OF SERVICE


       I hereby certify that this document filed through the CM/ECF system will be sent

electronically to the registered participants as identified on the Notice of Electronic Filing.



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